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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
              v.                                    )       Case No. 07-20168
                                                    )
BILLY TRINKLE,                                      )
                                                    )
                      Defendant.                    )
                                                    )



                           MEMORANDUM AND ORDER

       Defendant Billy Trinkle was convicted of conspiracy to posses with intent to

distribute more than 50 grams of cocaine base, and use of a communication facility in

commission of a drug trafficking crime. He received a 240-month prison sentence. Mr.

Trinkle has now filed a motion requesting that the court appoint him a lawyer because

he wishes to challenge his sentence based on a recent Supreme Court case (doc. 1219).

       There is, however, no constitutional right to counsel beyond the direct appeal of

a conviction. Swazo v. Wyo. Dep’t of Corrs., 23 F.3d 332, 333 (10th Cir. 1994). “[T]he

right to appointed counsel extends to the first appeal of right, and no further.”

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987).

       This court is confident, judging from the content of the motion itself, that Mr.

Trinkle is adequately able to identify and argue the issue he seeks to raise. Thus, Mr.

Trinkle is entitled to seek habeas relief if he wishes, but he is not entitled to an attorney
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to assist with that process. The court will reassess the issue of appointed counsel at a

later date if the situation warrants it.



       IT IS ORDERED BY THE COURT that defendant’s motion for appointment

of counsel (doc. 1219) is denied.




       IT IS SO ORDERED this 5th day of April, 2010.


                                      s/ John W. Lungstrum
                                      John W. Lungstrum
                                      United States District Judge




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